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                     THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 ______________________________________________________________________________

 UNITED STATES OF AMERICA,
           Plaintiff,

 vs.                                                     No. 04-20223-B

 MARILYN WATTS,
             Defendant.
 ______________________________________________________________________________

                 ORDER ON MOTION TO WAIVE THE APPEARANCE
                  OF DEFENDANT WATTS AT THE STATUS REPORT


        This matter came on to be heard upon Defendant Marilyn Watts’s motion to waive

 appearance at the status report set for Wednesday, March 7, 2007.at 9:30 a.m. For good cause

 shown, the motion is GRANTED.

        The appearance of Defendant. Watts is waived for the status report set March 7, 2007.

        IT IS SO ORDERED this 6th day of March, 2007.



                                                  s/ J. Daniel Breen
                                                  UNITED STATES DISTRICT JUDGE
